4:06-cr-03016-JMG-CRZ      Doc # 171    Filed: 02/18/09   Page 1 of 1 - Page ID # 1619




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,)                     4:06cr3016
                         )
    Plaintiff,           )
                         )                     NOTICE OF FILING OF MOTION
vs.                      )                     UNDER 28 U.S.C. § 2255
                         )
ARMONDO GARCIA-DELACRUZ, )
                         )
    Defendant.           )


       The United States Attorney is notified of the filing on February 11, 2009, of a
motion under 28 U.S.C. § 2255 to vacate, set aside, or correct sentence by a person
in federal custody, filing 169. The United States shall have until March 30, 2009,
in which to respond.

      Dated February 18, 2009.

                                 BY THE COURT

                                 s/ Warren K. Urbom
                                 United States Senior District Judge




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